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                                                                  Honorable James L. Robart


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 7                              UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     BOMBARDIER INC.,                                    No. 2:18-cv-01543-JLR
 9
                             Plaintiff,                  NOTICE OF WITHDRAWAL
10
                     v.
11
     MITSUBISHI AIRCRAFT CORPORATION,
12   MITSUBISHI AIRCRAFT CORPORATION
     AMERICA INC., AEROSPACE TESTING
13
     ENGINEERING & CERTIFICATION INC.,
14   MICHEL KORWIN-SZYMANOWSKI,
     LAURUS BASSON, MARC-ANTOINE
15   DELARCHE, CINDY DORNÉVAL, KEITH
     AYRE, AND JOHN AND/OR JANE DOES 1-
16   88,
17                           Defendants.
18
19           TO: The Clerk of the Court
20           AND TO: All Counsel of Record
21           PLEASE TAKE NOTICE that E. Lindsay Calkins hereby withdraws as counsel for
22   Plaintiff Bombardier Inc. John D. Denkenberger, Brian F. McMahon, and Jeffrey E. Danley
23   of the law firm of CHRISTENSEN O'CONNOR JOHNSON KINDNESS PLLC continue to
24   represent said Plaintiff.
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     NOTICE OF WITHDRAWAL (2:18-cv-01543-JLR)
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 1         Dated this 7th day of June, 2019.

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 4

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11                                              CHRISTENSEN O'CONNOR
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                                                s/John D. Denkenberger
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                                                Brian F. McMahon, WSBA No.: 45,739
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22                                              Attorneys for Plaintiff Bombardier Inc.

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     NOTICE OF WITHDRAWAL (2:18-cv-01543-JLR)
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            Case 2:18-cv-01543-JLR Document 230 Filed 06/07/19 Page 3 of 4




 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on June 7, 2019, I electronically filed the foregoing with the Clerk

 3   of the Court using the CM/ECF system which will send notification of such filing to the

 4   following:

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     NOTICE OF WITHDRAWAL (2:18-cv-01543-JLR)
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            Case 2:18-cv-01543-JLR Document 230 Filed 06/07/19 Page 4 of 4




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